Case 4:16-cv-00052-RSB-CLR Document 66-2 Filed 12/07/16 Page 1of5

Case 4:16-cv-00052-WTM-GRS Document 40 Filed 07/14/16 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

JACQUELYN ORR and
WILLIAM ORR,

Plaintiffs,
CIVIL ACTION NO. 416-52

¥S;,

MACY’S RETAIL HOLDINGS, INC.,

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Defendant.
AMENDED EXPERT WITNESS REPORT OF MARKUS NIEDERWANGER, MLD.

COMES NOW, Markus Niederwanger, M.D. pursuant to Federal Rules of Civil
Procedure 26(a)(2)(B), 26(a)(3) and 26(e)(2) and files this amended report as follows:

1. IDENTITY OF EXPERT WITNESS.

Dr, Markus Niederwanger

Optim Orthopedics

210 East DeRenne Ave.

Savannah, Georgia 31405

2. COMPLETE STATEMENT OF ALL OPINIONS TO BE EXPRESSED AND
THE BASIS AND REASONS THEREFORE:

See previously filed Expert Witness Report, the Deposition of Dr. Niederwanger and the
Amended Report attached hereto as Exhibit “1”.

3. THE FACTS OR DATA CONSIDERED BY THE WITNESS IN FORMING
HIS OPINION:

See previously filed Expert Witness Report, the Deposition of Dr. Niederwanger and the

Amended Report attached hereto as Exhibit “1”.

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-2 Filed 12/07/16 Page 2 of 5

Case 4:16-cv-00052-WTM-GRS Document 40 Filed 07/14/16 Page 2 of 4

4, ANY EXHIBIT TO BE USED AS A SUMMARY OF OR IN SUPPORT OF
THE OPINIONS:

See previously filed Expert Witness Rreport and Exhibits to the Deposition of Dr.
Niederwanger.

5. THE QUALIFICATIONS OF THE WITNESSES INCLUDING A LIST OF
PUBLICATIONS AUTHORED BY THE WITNESS WITHIN THE PRECEDING TEN
(10) YEARS:

See previously filed Expert Witness Report and the Deposition of Dr. Niederwanger.

6. A LISTING OF OTHER CASES THE WITNESS HAS TESTIFIED AS AN
EXPERT WITNESS AT TRIAL OR DEPOSITION WITHIN THE PRECEDING FOUR
(4) YEARS:

Not applicable.

7. COMPENSATION TO BE PAID FOR THE STUDY AND TESTIMONY;

$1,500 per hour, $10,500 incurred to date.

This 14" day of July, 2016.

/s/R. Scot Kraeuter
R. Scot Kracuter
Georgia Bar No. 428960
Johnson, Kraeuter & Dunn, LLC
104 West State Street, Suite 200
Savannah, Georgia 31401
(912) 721-9844
Scot@jkdlawfirm.com

 
Case 4:16-cv-00052-RSB-CLR Document 66-2 Filed 12/07/16 Page 3 of 5
Case 4:16-cv-00052-WTM-GRS Document 40 Filed 07/14/16 Page 3 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION
JACQUELYN ORR and )
WILLIAM ORR, }
Plaintiffs, )
VS. CIVIL ACTION NO. 416-52
MACY’S RETAIL HOLDINGS, INC, 5
Defendant.

CERTIFICATE OF SERVICE
This is to certify that I am counsel for the Plaintiffs and that I have this day
served the foregoing pleading upon all parties to this matter by filing with the
Court’s CM/ECF system, which will automatically e-mail notification of same to
the following counsel of record:

Lisa R. Richardson, Esq.
Drew, Eckl & Farnham, LLP
Post Office Box 7600
Atlanta, Georgia 30357-0600
lrichardson@deflaw.com

dulcieb@deflaw.com

Jeffrey S. Ward, Esq.
Garret W. Meader, Esq.
Drew Eckl & Farnham

77 Gloucester Street

Suite 305
Brunswick, Georgia 31520

jward@deflaw.com
gmeader@deflaw.com

 
Case 4:16-cv-00052-RSB-CLR Document 66-2 Filed 12/07/16 Page 4 of 5
Case 4:16-cv-00052-WTM-GRS Document 40 Filed 07/14/16 Page 4 of 4

This 14" day of July, 2016.

/s/R. Scot Kraeuter
R. Scot Kraeuter
Georgia Bar No, 428960
Johnson, Kraeuter & Dunn, LLC
104 West State Street, Suite 200
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(912) 721-9844
Scot@ijkdlawfirm.com

 
Case 4:16-cv-00052-RSB-CLR Document 66-2 Filed 12/07/16 Page 5of5
Case 4:16-cv-00052-WTM-GRS Document 40-1 Filed 07/14/16 Page 1 of1

Update and correction to the report for Jacquelyn Orr, DOB _ 1970
Original date of the report; 05/25/2016

Updated report: 07/06/2016

Considerations for future care update and clarification (page 8/10 In the report from
05/25/2016):

Since the production of the original report the patient was changed from oxycodone/APAP
10/325mg twice/day as needed for pain to Nucynta 50mg every 2-3 times/day as needed for
pain and on the last visit this was increased to Nucynta 100mg every 8hrs as needed for pain,
No feedback about this change has been received from Ms. Orr yet.

The gabapentin has been switched back from 600mg 4 times/day to 800mg 3 times/day.

Correction to the estimated charges for spinal cord stimulator procedure:

In the original report from 5/25/2016 charges for removal of a spinal cord stimulator implant
were erroneously included. This is not a charge that likely would be expected If the patient has
good benefit with the spinal cord stimulation system, Consequently it would be appropriate to
remove this charge from the estimated charges for the spinal cord stimulator procedure.

Therefore, the Physician charge for CPT 636614 (52,784, removal of implanted spinal cord
stimulator) and the Ambulatory Surgery Center charge for CPT 63664 {$23,275} should be
removed from the estimated charges for the spinal cord stimulator system.

Respectfully, /f
Markus Sr laduc Ml Gwin if Vbfone

Page 1/1 ———————————
EXHIBIT

 

 

 
